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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND


 EMPLOYERS MUTUAL CASUALTY
 COMPANY,

                         Plaintiff,
  v.                                                              C.A. No.: 1:25-cv-00062

 MATT DAVITT and DAVITT DESIGN BUILD INC.
 ALEC R. TESA AND A TESA ARCHIECTURE,INC.

                         Defendants,


                       COMPLAINT FOR DECLARATORY JUDGMENT

                                              Introduction

           This is a civil action for declaratory relief pursuant to 28 U.S.C. § 2201, in which the

  Plaintiff, Employers Mutual Casualty Company (“EMC”) petitions this Court for declarations

  of rights and obligations in connection with insurance policies issued by EMC to Matt Davitt

  and Davitt Design Build Inc.

           EMC brings this action to obtain a declaratory judgment finding that it has no duty to defend

  or indemnify Matt Davitt and Davitt Design Build, Inc. in connection with a lawsuit filed in the

  United States District Court for the District of Rhode Island captioned, Alec R. Tesa and A. Tesa

  Architecture Inc. v. Matt Davitt and Davitt Design Build Inc., Case No.: 1:24-CV-0054

  (“Underlying Lawsuit”), for Breach of Contract and Violations of Copyrights. A true and correct

  copy of the Complaint in the Underlying Lawsuit is attached hereto as Exhibit A.

                                       Jurisdiction and Venue


       1. This is an action for declaratory judgment pursuant to the Federal Declaratory Judgment

          Act, 28 U.S.C. § 2201, and Rule 57 of the Federal Rules of Civil Procedure.
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    2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, as it concerns a

        controversy between citizens of different states, and the amount in controversy exceeds

        $75,000.00, exclusive of interests and costs.

    3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a).

                                           The Parties

   4. Plaintiff, EMC, is an Iowa Corporation with a principal place of business in Des Moines,

      Iowa.

   5. Defendant, A. Tesa Architecture, Inc. is a Delaware Corporation with a principal place of

      business in Newport, Rhode Island.

   6. Defendant, Alec R. Tesa, is a natural person and with an address of 9564 Parkland Florida.

   7. Defendant, Matt Davitt, is a resident of Jamestown, Rhode Island.

   8. Defendant, Davitt Design Build, Inc. is a Rhode Island Corporation with a principal place of

      business in West Kingston, Rhode Island.

   9. Each named Defendant herein has been joined in compliance with statutory and case law

      requiring the insurer seeking a declaratory judgment to bring into the action all individuals

      or entities who have a financial or other interest in the outcome of the coverage issues to be

      decided through the declaratory judgment.

                                       Underlying Lawsuit

   10. The Complaint in the Underlying Lawsuit (“Underlying Complaint”) alleges:

        On or about September 13, 2015, Defendants entered into a written agreement with the
        Plaintiffs for Plaintiffs to provide Architectural Design Services (the "Contract"). A true
        copy of the Contract is attached hereto as Exhibit 1. ¶8

        The Contract expressly stated the Defendants were to use Tesa's Designs only to construct
        the two homes on Lots 9 and 11 and for no other purpose. ¶10
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       Since the fall of 2015, Defendants, without authorization, in violation of Plaintiffs'
       copyright and in violation of the Contract, constructed single-family homes using Tesa's
       Designs, such construction located at, among other places, 35 Battery Lane, Jamestown,
       Rhode Island; 127 Highland Drive, Jamestown, Rhode Island, and 1048 Ocean Road,
       Narragansett, Rhode Island. See Exhibit 2. ¶13

       Defendants, without Plaintiffs' authorization, used, reproduced, and distributed Tesa's
       Designs as if owned by DBB on the DBB Instagram page and DBB website as recently as
       June 2024. Screenshots of the DDB Instagram account are attached hereto as Exhibit 3.
       ¶14

                                                ***

                                           COUNT I
                                      (Copyright Infringement)

                                                ***

       Plaintiffs are the owners of all right, title, and interest in the copyright in Tesa's Designs
       registered in the United States Trademark Office under the "Architectural Construction
       Drawings and 9 Other Unpublished Works. ¶19

       The Defendants, without authorization, copied, manufactured, distributed, and used Tesa's
       Designs to construct and then sell homes as shown by the similarity of the homes to Tesa's
       Designs located at, among other places, 35 Battery Lane, Jamestown, Rhode Island; 127
       Highland Drive, Jamestown, Rhode Island, 1048 Ocean Road, Narragansett, Rhode
       Island, DavittDesignBuild.com, and social media postings by Defendants at
       Instagram.com/davittdesingbuild.inc; thereby infringing the copyright held by Plaintiffs in
       Tesa's Designs. ¶20

       Defendants have profited wrongfully from the unauthorized use of Tesa's Designs and Tesa
       has been harmed by Defendants' wrongful conduct. ¶21

                                              ***
                                           Count II
                                      (Breach of Contract)

                                                ***

       Under the terms of the Contract, Defendants were strictly prohibited from submitting or
       using Tesa's Designs for any purpose other than Lots 9 and 11. The Contract strictly
       prohibited the sale, reproduction, creation of works derivative of Tesa's Designs for any
       other purpose without proper compensation to Plaintiffs, and Plaintiffs' express written
       consent. ¶25
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        Defendants breached the Contract by using Tesa's Designs without Plaintiffs' consent,
        reproducing and/or creating works derivative of Tesa's Designs and constructing or
        offering to construct for others homes based on Tesa's Design… ¶26

        Defendants wrongfully profited by their breach of the Contract and Tesa has suffered a
        loss due to the breach. ¶27

 The Insurance Policies

   11. Davitt Design Build, Inc. was insured by EMC under a CGL Policy, from March 6, 2015,

      to March 6, 2016, which was renewed annually thereafter through the March 6, 2024, to

      March 6, 2025, Policy period, as follows:

                a. policy period from March 6, 2015, to March 6, 2016 (the “2015 Policy”);

                b. policy period from March 6, 2016, to March 6, 2017 (the “2016 Policy”);

                c. policy period from March 6, 2017, to March 6, 2018 (the “2017 Policy”);

                d. policy period from March 6, 2018, to March 6, 2019 (the “2018 Policy”);

                e. policy period from March 6, 2019, to March 6, 2020 (the “2019 Policy”);

                f. policy period from March 6,2020 to March 6, 2021 (the “2020 Policy”);

                g. policy period from March 6, 2021, to March 6, 2022 (the “2021 Policy”);

                h. policy period from March 6, 2022, to March 6, 2023 (the “2022 Policy”);

                i. policy period from March 6, 2023to March 6, 2024 (the “2023 Policy”);

                j. policy period from March 6, 2024, to March 6, 2025 (the “2024 Policy”);

   12. The r e l e v a n t liability limits for the Policies are $1,000,000.00 per occurrence,

      $1,000,000.00 for personal and advertising injury, with a $2,000,000.00 general aggregate.

      Because the Policies are virtually identical except as otherwise noted herein, a true and

      correct copy of only the 2015 Policy is attached hereto as Exhibit B. The CGL provisions of

      the Policies which are relevant to this matter are the same form CG001 (04/13).
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 Commercial General Liability Coverage

   13. The provisions of EMC Commercial General Liability policy pertinent to this matter are as

      follows:

        SECTION I – COVERAGES

        COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY

        1.       Insuring Agreement.

        a.     We will pay those sums that the insured becomes legally obligated to pay as
        damages because of “bodily injury” or “property damage” to which this insurance
        applies. We will have the right and duty to defend any “suit” seeking those damages.

                                                     ***
        b.       This insurance applies to “bodily injury” and “property damage” only if:

        (1)      The “bodily injury” or “property damage” is caused by an “occurrence” …

        DEFINITIONS
                                                      ***

        “Occurrence” means an accident, including continuous or repeated exposure to
        substantially the same general harmful conditions.

                                                      ***
        “Property damage” means:

        a.      Physical injury to tangible property, including all resulting loss of use of that
        property. All such loss of use shall be deemed to occur at the time of the physical injury
        that caused it; or

        b.     Loss of use of tangible property that is not physically injured. All such loss shall
        be deemed to occur at the time of the “occurrence” that caused it.

                                  FIRST CAUSE OF ACTION
                                      (Declaratory Relief)
                    The Underlying Complaint Does Not Allege an “Occurrence”

   14. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

      as if set forth herein, verbatim and fully at length.
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   15. The allegations in the Underlying Complaint do not set forth an “occurrence” which is

      defined as an “accident including continuous or repeated exposure to substantially the same

      general harmful conditions.”

        WHEREFORE, EMC respectfully requests that this Court declare that neither defense, nor

 indemnity is owed under the policy for the claims asserted in the Underlying Complaint because

 such claims do not constitute an “occurrence”.

                             SECOND CAUSE OF ACTION
                                  (Declaratory Relief)
               The Underlying Complaint Does Not Allege “Property Damage”

   16. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

      as if set forth herein, verbatim and fully at length.

   17. EMC’s CGL Policy defines “property damage,” in relevant part, as “physical injury to or

      destruction of tangible property, including all resulting loss of use of that property.”

      Additionally, “property damage” is defined to include “the loss of use of tangible property

      that is not physically injured or destroyed, provided such loss of use is caused by physical

      injury to or destruction of other tangible property.” The Underlying Complaint does not

      allege physical injury to any tangible property.

   18. The gravamen of the Complaint is that the Defendants, Alec R. Tesa, and A. Tesa

      Architecture Inc, suffered an economic or financial lost.

   19. Purely economic or financial loss does not come within the definition of “property damage”.

   20. The Underlying Complaint does not allege any physical injury to tangible property, hence,

      there are no claims for “property damage” within the meaning of the Policy and thus, there

      is no insurance coverage afforded by Coverage A of the CGL Policy.
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        WHEREFORE, EMC respectfully requests that this Court declare that neither defense, nor

 indemnity is owed under the policy for the claims asserted in the Underlying Complaint.

                               THIRD CAUSE OF ACTION
                                    (Declaratory Relief)
      There is No Coverage for the Equitable Relief which the Plaintiff is Seeking in The
                                   Underlying Complaint

   21. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

      as if set forth herein, verbatim and fully at length.

   22. The Underlying Complaint seeks equitable relief and economic loss for matters which do not

      involve injury or damage to tangible property which are not a claim for damages under the

      CGL Policy.

   23. The Underlying Complaint requests that the Court:

        “Assessment of actual and statutory damages under Count I, including but not
        limited to, disgorgement of all profits obtained from the unauthorized use of Tesa’s
        design.”

   24. The EMC Policy does not afford coverage for profits which the Defendants, Matt Davitt and

      Davitt Design Build, Inc. in the Underlying Litigation were not entitled to in the first place.

        WHEREFORE, EMC respectfully requests that this Court declare that neither defense, nor

 indemnity is owed under the policy for the claims asserted in the Underlying Complaint because

 there is no coverage for the relief sought.

                                FOURTH CAUSE OF ACTION
                                      (Declaratory Relief)
                            Personal and Advertising Injury Liability

   25. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

      as if set forth herein, verbatim and fully at length.

   26. COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY of the CGL
       Policy states in pertinent part:
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        1.      Insuring Agreement
    a. We will pay those sums that the insured becomes legally obligated to pay as damages
    because of "personal and advertising injury" to which this insurance applies. We will have the
    right and duty to defend the insured against any "suit" seeking those damages. However, we
    will have no duty to defend the insured against any "suit" seeking damages for "personal and
    advertising injury" to which this insurance does not apply. We may, at our discretion,
    investigate any offense and settle any claim or "suit" that may result. But:

                                                  ***

    b. This insurance applies to "personal and advertising injury" caused by an offense arising
    out of your business but only if the offense was committed in the "coverage territory" during
    the policy period.

                                                  ***

        1      Personal and advertising injury” means injury, including consequential “bodily
        injury”, arising out of one or more of the following offenses:

                                                  ***

    g. Infringing upon another’s copyright, trade dress or slogan in your advertisement.

    27. Plaintiffs allege an advertisement of a misappropriated product but that does not cause a

    “personal and advertising injury” within the terms of the insurance policies.

        WHEREFORE, EMC respectfully requests that this Court declare that neither defense, nor

 indemnity is owed under the policy for the claims asserted in the Underlying Complaint.

                                  FIFTH CAUSE OF ACTION
                                       (Declaratory Relief)
                                  Exclusions Breach of Contract


    28. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

        as if set forth herein, verbatim and fully at length.

    29. COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY states in
        pertinent part:

        2. Exclusions

        This insurance does not apply to:
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    f. Breach Of Contract

        "Personal and advertising injury" arising out of a breach of contract, except an implied
        contract to use another's advertising idea in your "advertisement".


        WHEREFORE, EMC respectfully requests that this Court declare that neither defense, nor

 indemnity is owed under the policy for the claims asserted in the Underlying Complaint because

 they arise out of breach of contract.

                                 SIXTH CAUSE OF ACTION
                                     (Declaratory Relief)
                       Exclusions Knowing Violation of Rights of Another

    30. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

        as if set forth herein, verbatim and fully at length.

    COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY of the CGL
    Policy states in pertinent part:

    2. Exclusions

        This insurance does not apply to:

        a.      Knowing Violation Of Rights Of Another

        "Personal and advertising injury" caused by or at the direction of the insured with the
        knowledge that the act would violate the rights of another and would inflict "personal
        and advertising injury".

        WHEREFORE, EMC respectfully requests that this Court declare that neither defense, nor

 indemnity is owed under the policy for the claims asserted in the Underlying Complaint because

 the alleged acts, were "caused by or at the direction of the insured with the knowledge that the act

 would violate the rights of another and would inflict "personal and advertising injury".

                                 SEVENTH CAUSE OF ACTION
                                     (Declaratory Relief)
                                       Attorneys’ Fees
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    31. EMC repeats, reiterates and realleges each and every allegation of the preceding
        paragraphs as if set forth herein, verbatim and fully at length.

    32. The policy states in pertinent part that it does not make payments for attorneys’ fees or
        attorneys’ expenses taxed against the insured.

        WHEREFORE, EMC respectfully requests that this Court declare that no duty to

 indemnify the Defendants, Matt Davitt and Davitt Design Build, Inc., for attorneys’ fees or

 attorneys’ expenses taxed against them.

                                  EIGHT CAUSE OF ACTION
                                     (Declaratory Relief)
                                  Umbrella Insurance Coverage

    33. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

        as if set forth herein, verbatim and fully at length.

    34. EMC issued Umbrella Liability Policies to Matt Davitt and Davitt Design Build, Inc. for

        the Policy periods from March 6, 2015, to March 6, 2025.

    35. The provisions of EMC Umbrella Liability policies pertinent to this matter are as follows:

  SECTION I – COVERAGES

  COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY

  1. Insuring Agreement




     a. We will pay on behalf of the insured the "ultimate net loss" in excess of the "retained limit"
        because of "bodily injury" or "property damage" to which this insurance applies. We will
        have the right and duty to defend the insured against any "suit" seeking damages for such
        "bodily injury" or "property damage" when the "underlying insurance" does not provide
        coverage or the limits of "underlying insurance" have been exhausted. When we have no
        duty to defend, we will have the right to defend, or to participate in the defense of, the
        insured against any other "suit" seeking damages to which this insurance may apply.
        However, we will have no duty to defend the insured against any "suit" seeking damages
        for "bodily injury" or "property damage" to which this insurance does not apply. At our
        discretion, we may investigate any "occurrence" that may involve this insurance and settle
        any resultant claim or "suit" for which we have the duty to defend. (Form CU 00 01 04
        13)
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    36. The Umbrella Liability coverage does not apply to “bodily injury and property damage”

       except to the extent that coverage for such “bodily injury and property damage” is

       provided by “underlying insurance”.

    37. The provisions of EMC Umbrella Liability policy pertinent to this matter are as follows:

  COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY

  1. Insuring Agreement

    We will pay on behalf of the insured the "ultimate net loss" in excess of the "retained limit"
    because of "personal and advertising injury" to which this insurance applies. We will have the
    right and duty to defend the insured against any "suit" seeking damages for such "personal
    and advertising injury" when the "underlying insurance" does not provide coverage or the
    limits of "underlying insurance" have been exhausted. When we have no duty to defend, we
    will have the right to defend, or to participate in the defense of, the insured against any other
    "suit" seeking damages to which this insurance may apply. However, we will have no duty to
    defend the insured against any "suit" seeking damages for "personal and advertising injury"
    to which this insurance does not apply. (Form CU 00 01 04 13)


    38. Pursuant to the Insuring Agreement of the Umbrella Liability Policy the insurance only

       provides coverage for “damages” in excess of the “underlying insurance” ... because of

       “bodily injury”, “property damage” or “personal and advertising injury” to which this

       insurance applies caused by an “occurrence”...

    39. The Umbrella Liability coverage does not apply to “personal and advertising injury” except

       to the extent that coverage for such “personal and advertising injury” is provided by

       “underlying insurance.”

    40. The relevant CGL Policies that meet the definition of “underlying insurance” do not

       provide coverage and, therefore, the Umbrella policies do not provide excess coverage in

       relation to the Underlying Complaint.
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    41. The policy contains an endorsement entitled COVERAGE FOR PROFESSIONAL

        SERVICES, which states in pertinent part:

        This endorsement modifies the insurance provided under the following:

        COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

                                                   ***

  Coverage provided will follow the provisions, exclusions, and limitations of the "underlying
 insurance" unless otherwise directed by this insurance. (Form CU 2423 12-07) Exhibit D.

        WHEREFORE, EMC respectfully requests that this Court declare that neither defense, nor

 indemnity is owed under the Umbrella policies for the claims asserted in the Underlying

 Complaint.

                        COMPLAINT FOR DECLARATORY RELIEF

    42. EMC repeats, reiterates and realleges each and every allegation of the preceding paragraphs

        as if set forth herein, verbatim and fully at length.

    43. By enumerating the foregoing provisions of its Policies, EMC does not waive reliance upon

        any other portions or provisions of its subject contract(s) of insurance to establish the basis

        for and its right to declaratory relief.

    44. An actual controversy exists between the EMC and the named Defendants in this

        Declaratory Judgment Action as to the rights and obligations of the parties under the

        applicable insurance contract(s).

    45. An actual controversy exists between EMC and the Defendants as to the nature and extent

        of EMC’s obligation, if any, to defend and indemnify the Defendants Matt Davitt and

        Davitt Design Build. Inc., in the Underlying Lawsuit under the CGL and Umbrella Policies.

    46. No other method of relief is available to resolve this controversy.

    47. A Declaratory Judgment will terminate this conflict.
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        WHEREFORE, Plaintiff, EMC respectfully requests this Honorable Court to declare and

 adjudge the controversy as follows:

    A. Declare that EMC has no duty to defend Matt Davitt and Davitt Design Build, Inc., in the

        Underlying Lawsuit under the CGL or Umbrella Policies;

    B. Declare that EMC has no duty to indemnify Matt Davitt and Davitt Design Build, Inc., for

        any loss or damages arising from Underlying Lawsuit under the CGL or Umbrella Policies;

    C. Declare that EMC has no duty to indemnify Matt Davitt and Davitt Design Build. Inc., for

        any loss or damages arising from a Breach of Contract under the CGL or Umbrella Policies;

    D. Declare that EMC has no duty to indemnify Matt Davitt and Davitt Design Build. Inc., for

        any loss or damages arising from a copyright violation under the CGL or Umbrella Policies;

    E. Declare that EMC has no duty to indemnify Matt Davitt and Davitt Design Build. Inc., for

        any costs, attorney’s fees, and expenses in the Underlying Lawsuit under the CGL or

        Umbrella Policies:

    F. Grant any other relief that this Honorable Court deems just and equitable under the

        circumstances, including the award of costs;

    G. That the Court will award any other relief this Court deems just and appropriate.

                                             Employers Mutual Insurance Company,
                                             By its attorney,

                                             /s/ Lauren D. Wilkins
                                             ___________________________
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 Dated: February 14, 2025
